        Case 1:21-cr-00687-RC Document 38-4 Filed 10/17/22 Page 1 of 4

                              FEDERAL PUBLIC DEFENDER
                                Western District of Washington



                                      November 18, 2021


VIA FIRST CLASS MAIL

Alison Prout, DOJ-USAO
Northern District of Georgia
Richard B. Russell Federal Building
75 Ted Turner Drive, SW
Atlanta, GA 30303
Email: alison.prout@usdoj.gov

       Re:    United States v. David Charles Rhine; 1:21-mj-00646-GMH

Dear Ms. Prout:

       Through this letter, I am making a written request for discovery. I further request
that we schedule a discovery conference within the time set forth by Local Rule 16. The
following are my specific requests:

    1. Early disclosure of any Jencks material so I will not need to ask for appropriate
       recesses and continuances during trial. Please have any investigator involved in
       this case preserve his or her original notes for all interviews, as well as the
       original notes for any other facet of the investigation, as those notes may be
       discoverable under Jencks, 18 U.S.C. § 3500, or Brady v. Maryland, 373 U.S. 83
       (1963). I also request that you inform me whether you are withholding any
       evidence on relevancy or other grounds.

    2. All discovery required to be disclosed pursuant to Rule 16(a)(1) of the Federal
       Rules of Criminal Procedure, and as set forth in the local Western District of
       Washington version of Rule 16.

    3. Pursuant to Rule 12(b)(4)(B), please identify any discoverable evidence that the
       government intends to use in its evidence in chief at trial.

    4. Reasonable notice of any evidence of other crimes, wrongs, or acts that the
       government intends to introduce at trial pursuant to Rule 404(b) of the Federal
       Rules of Evidence. It is my position that reasonable notice means notice no later
       than the deadline for filing motions in this case, and certainly no later than 30
       days before trial in order for us to “meet and confer” before filing motions in
       limine as required by Local Criminal Rule 23.2.


                         1331 Broadway, Suite 400, Tacoma, Washington, 98402
                                  (253) 593-6710 • Fax: (253) 593-6714

                                                p. 1
        Case 1:21-cr-00687-RC Document 38-4 Filed 10/17/22 Page 2 of 4

Discovery Letter
Re: David Charles Rhine
Page 2


   5. All information and material subject to disclosure under Brady v. Maryland, 373
      U.S. 83 (1963), Giglio v. United States, 405 U.S. 150 (1972), and Kyles v.
      Whitley, 514 U.S. 419 (1995). I further request that you advise me whether you
      will apply trial-level review to your Brady evaluations as set forth in United
      States v. Sudikoff, 36 F. Supp. 2d 1196 (C.D. Cal. 1999), and United States v.
      Price, 566 F.3d 900, 913 n.14 (9th Cir. 2009), or whether your review at this
      stage will be under the appellate standard of materiality set forth in Brady.

       With respect to government witnesses, we request the following pursuant to
       Giglio:

       a. Any prior criminal convictions and/or arrests and any evidence that the
          witness has committed or is suspected of committing a criminal act that did
          not result in an arrest or conviction.

       b. Any payments made to the witness and the dates of such payments, whether
          in connection with this case or any other case, state or federal.

       c. Any implicit or explicit promises of benefit that have been made by any
          government agent or agency, state or federal, regarding (i) non-prosecution
          for any offense, (ii) recommendations of leniency, or (iii) information to be
          provided at sentencing for any offense.

       d. Any implicit or explicit promises of benefit that have been made to the
          witness, by any government agent or agency, in any other area, including but
          not limited to immigration status.

       e. All known occasions on which the witness has made false statements to any
          person, including but not limited to law enforcement officers or any law
          enforcement agency or court, and specifically including but not limited to
          any aliases the witness may have used.

       f.   Any false identification document that has ever been in the possession of
            and/or used by the witness, and every occasion on which the witness is
            known to have used said document.

       g. Any evidence that any prospective government witness is biased or
          prejudiced against the defendant, or has a motive to falsify or distort his
          testimony.



                        1331 Broadway, Suite 400, Tacoma, Washington, 98402
                                 (253) 593-6710 • Fax: (253) 593-6714

                                               p. 2
        Case 1:21-cr-00687-RC Document 38-4 Filed 10/17/22 Page 3 of 4

Discovery Letter
Re: David Charles Rhine
Page 3

       h. Any evidence, including any medical or psychiatric report or evaluation,
          tending to show that any prospective witness’s ability to perceive, remember,
          communicate, or tell the truth is impaired; and any evidence that a witness
          has ever used narcotics or another controlled substance, or has ever been an
          alcoholic.

       i.   Any other information that adversely reflects on the credibility of the
            witness.

       j.   The name of any witness who made an arguably favorable statement
            concerning the defendant. I also request disclosure of any statement that may
            be relevant to any possible defense or contention that the defendant might
            assert. This includes in particular any statements by percipient witnesses.

       k. Disclosure of any exculpatory witness statements, including negative
          exculpatory statements, i.e., statements by informed witnesses that fail to
          mention the defendant.

       l.   I request that you review the personnel records of all law enforcement
            witnesses and disclose any Brady or Giglio material contained in those
            records, pursuant to United States v. Henthorn, 931 F.2d 29 (9th Cir. 1991).

   6. Preservation of information, evidence, and communications among law
      enforcement and government attorneys. We request that all notes, texts, emails,
      and other communication among law enforcement, government, local
      prosecutors, informants, and witnesses be preserved even if the government does
      not believe these items are discoverable. Such communications often contain
      Jencks and Rule 26.2 material, and may contain Brady or Giglio information.
      With respect to physical or similar evidence, please preserve it in a manner in
      which it can be viewed and forensically examined by the defense.

   7. Please provide all electronic discovery materials in a format that can be easily
      searched using word searches (OCR), and we will endeavor to do the same with
      our discovery production.

   8. Please advise whether the government will agree to a date for early disclosure of
      witness and exhibit lists in advance of the presumptive deadlines provided by
      local Criminal Rule 23.3, and what dates you propose for such disclosure.

   9. I request the names, addresses, and locations of any informant or other person
      who was a percipient witness to a material event in the case, who was a

                        1331 Broadway, Suite 400, Tacoma, Washington, 98402
                                 (253) 593-6710 • Fax: (253) 593-6714

                                               p. 3
        Case 1:21-cr-00687-RC Document 38-4 Filed 10/17/22 Page 4 of 4

Discovery Letter
Re: David Charles Rhine
Page 4

        substantial participant in the investigation of the case, or who may have
        information relevant and helpful to the defense.

         I appreciate your prompt provision of discovery so we may more quickly
investigate this case and intelligently determine whether this case should proceed on a
trial track or be considered for settlement.

                                             Sincerely,



                                             Christian Izaguirre
                                             Assistant Federal Public Defender




                        1331 Broadway, Suite 400, Tacoma, Washington, 98402
                                 (253) 593-6710 • Fax: (253) 593-6714

                                               p. 4
